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                                                       United States District Court
                                                       Central District of California
                                                             * SECOND AMENDED

 UNITED STATES OF AMERICA vs.                                              Docket No.             2:19-cr-00595(A)-CAS

 Defendant           EDWARD BUCK                                           Social Security No. 1          1   4   4
 akas:   Edward Bernard Buckmelter                                         (Last 4 digits)




                                                                                                                  MONTH    DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.        04   14    2022

  COUNSEL                                                          Mark Werkksman, Retained
                                                                           (Name of Counsel)

    PLEA              GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                              CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Distribution of Controlled Substances Resulting in Death in violation of 21 U.S.C. § 841(a)(1), 21 U.S.C. § 841(b)(1)(C), as
          charged in Counts 1 and 2 of the First Superseding Indictment; Distribution of Methamphetamine in violation of 21 U.S.C. §
          841(a)(1), 21 U.S.C. § 841(b)(1)(C), as charged in Counts 3 through 6 of the First Superseding Indictment; Maintaining Drug-
          Involved Premises in violation of 21 U.S.C. § 856(a)(1), as charged in Count 7 of the First Superseding Indictment; and
          Enticement to Travel in Interstate Commerce for Prostitution in violation of 18 U.S.C. § 2422(a), as charged in Counts 8 and 9
          of the First Superseding Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to Counts
  ORDER   1 through 9 of the First Superseding Indictment to the custody of the Bureau of Prisons to be imprisoned for a term of: THREE
          HUNDRED SIXTY (360) MONTHS. This term consists of 360 months on each of Counts 1 and 2, to be served concurrently
          to one another, and 240 months on each of Counts 3 through 9, to be served concurrently to one another, and concurrently to
          Counts 1 and 2.
It is ordered that the defendant shall pay to the United States a special assessment of $900.00, which is
due immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of
not less than $25.00 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program.
*It is ordered that the defendant shall pay restitution in the total amount of $47,271.25 pursuant
to 18 U.S.C. § 3663A.
The amount of restitution ordered shall be paid to the victim as set forth in the government’s
Modified Restitution Chart and provided to the probation office, which this Court adopts and
which reflects the Court's determination of the amount of restitution due to each victim. The
victim list, which shall also be forwarded to the fiscal section of the clerk's office, shall remain
confidential to protect the privacy interests of the victim.
Restitution shall be paid in full forthwith. The Court finds from a consideration of the record
that the defendant's economic circumstances allow for a full and immediate payment of
restitution.
The defendant shall comply with Second Amended General Order No. 20-04.
It is ordered that the defendant shall pay to the United States a total fine of $200,000, consisting
of $100,000 on each of Counts 1 and 2 of the First Superseding Indictment.

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The fine shall be paid in full within ninety (90) days.
The defendant shall comply with Second Amended General Order No. 20-04.
Defendant shall pay interest on the fine and restitution as prescribed by 18 U.S.C. § 3612, unless
the restitution and fine amounts are paid in full before the fifteenth day after the date of the
judgment.
Defendant shall send all payments (special assessment, restitution and fine), by bank or cashier’s
check or money order payable to the “Clerk, U.S. District Court,” to:
                                           Clerk of the Court
                                      United States District Court
                                     Central District of California
                                           Fiscal Department
                                  255 East Temple Street, 11th Floor
                                     Los Angeles, California 90012
The bank or cashier’s check or money order shall reference “Edward Buck” and “Case No.
2:19cr00595-CAS.”
Defendant shall not dissipate any assets until the ordered restitution and fines are paid in full.
The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant
and provide all necessary treatment.
The Court recommends that the defendant be considered for participation in the Bureau of Prison's
Residential Drug Abuse Program (RDAP).
Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
three (3) years. This term consists of three (3) years on each of Counts 1 through 9 of the First
Superseding Indictment, all such terms to run concurrently under the following terms and conditions:

1.       The defendant shall comply with the rules and regulations of the United States Probation &
         Pretrial Services Office and Second Amended General Order 20-04, including the conditions of
         probation and supervised release set forth in Section III of Second Amended General Order 20-
         04;
2.       During the period of community supervision, the defendant shall pay the special assessment,
         fine, and restitution in accordance with this judgment's orders pertaining to such payment. The
         fine and restitution is yet to be determined;
3.       The defendant shall cooperate in the collection of a DNA sample from the defendant;
4.       The defendant shall refrain from any unlawful use of a controlled substance. The defendant
         shall submit to one (1) drug test within 15 days of release from custody and at least two (2)
         periodic drug tests thereafter, not to exceed eight (8) tests per month, as directed by the
         Probation Officer;
5.       The defendant shall participate in an outpatient substance abuse treatment and counseling
         program that includes urinalysis, breath or sweat patch testing, as directed by the Probation
         Officer. The defendant shall abstain from using alcohol and illicit drugs, and from abusing
         prescription medications during the period of supervision;

6.       During the course of supervision, the Probation Officer, with the agreement of the defendant
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         and defense counsel, may place the defendant in a residential drug treatment program approved
         by the U.S. Probation and Pretrial Services Office for treatment of narcotic addiction or drug
         dependency, which may include counseling and testing, to determine if the defendant has
         reverted to the use of drugs. The defendant shall reside in the treatment program until
         discharged by the Program Director and Probation Officer;
7.       The defendant shall participate in mental health treatment, which may include evaluation and
         counseling, until discharged from the program by the treatment provider, with the approval of
         the Probation Officer;
8.       As directed by the Probation Officer, the defendant shall pay all or part of the costs of the
         Court-ordered treatment to the aftercare contractors during the period of community
         supervision. The defendant shall provide payment and proof of payment as directed by the
         Probation Officer. If the defendant has no ability to pay, no payment shall be required;
9.       The defendant shall apply all monies received from income tax refunds, lottery winnings,
         inheritance, judgments and any other financial gains to the Court-ordered financial obligation,
         which is yet to be determined;
10.      The defendant shall submit the defendant's person, property, house, residence, vehicle, papers,
         computers, cell phones, other electronic communications or data storage devices or media,
         email accounts, social media accounts, cloud storage accounts, or other areas under the
         defendant’s control, to a search conducted by a United States Probation Officer or law
         enforcement officer. Failure to submit to a search may be grounds for revocation. The
         defendant shall warn any other occupants that the premises may be subject to searches pursuant
         to this condition. Any search pursuant to this condition will be conducted at a reasonable time
         and in a reasonable manner upon reasonable suspicion that the defendant has violated a
         condition of his supervision and that the areas to be searched contain evidence of this violation;
         and
11.      The defendant shall not contact the victims, or victims’ survivors, by any means, including in
         person, by mail or electronic means, or via third parties. Further, the defendant shall remain at
         least 100 yards from the victims at all times. If any contact occurs, the defendant shall
         immediately leave the area of contact and report the contact to the Probation Officer.

The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to
the substance abuse treatment provider to facilitate the defendant's treatment for narcotic addiction or
drug dependency. Further redisclosure of the Presentence Report by the treatment provider is
prohibited without the consent of the sentencing judge.
Defendant is informed of his right to appeal.

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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal              convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation             implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and           criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                              defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by              vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable            most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




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             The defendant must also comply with the following special conditions (set forth below).
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             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date



                     U. S. Probation Officer/Designated Witness                     Date




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